Case 5:23-mj-05283-MAS
     Case 4:23-cr-00218 *SEALED*
                          DocumentDocument
                                  9-3 Filed4 on
                                              Filed
                                                08/09/23
                                                    08/08/23
                                                         in TXSD
                                                              Page 1Page
                                                                     of 2 1PageID
                                                                            of 2  13

                                                                                    l='~·•t.,1·r, District ol Kentucky
                                                                                                    FILED

                                                                                            AUG O8 2023
                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY                               AT LEXINGTON
                                                                                           Rooert R. Carr
                                     CENTRAL DIVISION                              CLERK U.S. DISTRICT COURT



                                                       )
                                                       )
       UNITED STATES OF AMERICA                                             Case No. 5 :23-mj-5283
                                                       )
                                                       )
      v.
                                                       )
     Dhirenkumar Vishnubhai Patel                      )
                                                       )          Charging District Case No. 4:23cr-218
              Defendant.
                                                       )
                                                       )
                                                       )


                                           RULE 5 & 5.1 HEARING

           I understand that I have been charged in another district, the: Southern District of Texas

    ("Charging District").

           I also understand and have been informed of the charges and ofmy rights to:

               1. Retain counsel or request the assignment of counsel ifl am unable to retain counsel;

               2. An identity hearing to determine whether I am the person named in the charges;

               3. Production of the warrant, a certified copy of the warrant, or a reliable electronic
                  copy of either;

               4. A preliminary hearing to determine whether there is probable cause to believe that
                  an offense has been committed, to be held within 14 days of my first appearance if
                  I am in custody and 21 days otherwise, unless I have been indicted beforehand;

               5. A hearing on any motion by the government for detention; and

               6. Request a transfer of the proceeding(s) to this district under FED. R. CRIM. P. 20, to
                  plead guilty.




                                                                                                                         5
Case 5:23-mj-05283-MAS
     Case 4:23-cr-00218 *SEALED*
                          DocumentDocument
                                  9-3 Filed4 on
                                              Filed
                                                08/09/23
                                                    08/08/23
                                                         in TXSD
                                                              Page 2Page
                                                                     of 2 2PageID
                                                                            of 2  14




           As to my right to an identity hearing (check one):

           D I. I assert my right to an identity hearing and/or challenge the production of the
                  warrant.

           ~ waive my right to an identity hearing and production of the warrant.
           As to my right to a preliminary hearing, if charged by criminal complaint (check one):

           D I. I assert my right to a preliminary hearing in the Eastern District of Kentucky.
           uYi I reserve
                  ,--..
                         my right to a preliminary hearing in the Charging District.

           D 3. I waive my right to a preliminary hearing.
           As to my right to a detention hearing (check one):

           D I ~ssert my right to a detention hearing in the Eastern District of Kentucky.
           Gl/:2. I r~ve my right to a detention hearing in the Charging District.
           D 3. I waive my right to a detention hearing.
           I consent to the issuance of an order requiring my appearance in the Charging District

    where the charges are pending against me.



           Date:WI

                                                                      Defendant's Signature

                                                                  ~                    ~~
                                                                ~Counsel's Signature


                                                                      PrinteiName of Defense Counsel




                                                        2



                                                                                                       6
